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                 IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF KANSAS



UNITED STATES OF AMERICA,

                 Plaintiff,
     vs.                                 Case No. 11-40057-01-RDR

MARCOS FIDEL MOJICA-CRUZ,

                 Defendant.


                                 O R D E R

     On February 23, 2012, the court held a hearing on defendant’s

pro se motion to terminate the representation of his appointed

counsel, Sonya Strickland.       After hearing from the parties, the

court determined that a complete breakdown in communication between

Ms. Strickland and the defendant had occurred.              Accordingly, the

court allowed Ms. Strickland to withdraw from this case.

     The court shall now appoint James Spies to represent the

defendant.     The   court    shall   extend   the    previously     scheduled

deadlines to allow new counsel to gain familiarity with the case.

The defendant shall have until March 26, 2012 in which to file

pretrial motions. The government shall have until April 5, 2012 in

which to file responses. The hearing on all pretrial matters shall

be held on April 13, 2012 at 10:00 a.m.            The trial of this case

shall be continued to a date to be determined.

     The court finds that the period of delay resulting from the

additional time granted shall be excludable time as provided in 18
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U.S.C. § 3161(h)(7) because the ends of justice served by the

granting of this motion outweigh the best interest of the public

and the defendant in a speedy trial.

      IT IS THEREFORE ORDERED that Sonya Strickland be allowed to

withdraw from this case with the thanks of the court.

      IT IS FURTHER ORDERED that James Spies is hereby appointed to

represent the defendant.       The defendant shall have until March 26,

2012 in which to file pretrial motions.            The government shall have

until April 5, 2012 in which to file responses.                   The hearing on

pretrial motions shall be held on April 13, 2012 at 10:00 a.m.                  The

trial of this case shall be continued to a date to be determined.

The   period   of   delay   resulting     from    this   extension     shall    be

excludable under 18 U.S.C. § 3161(h)(7).

      IT IS SO ORDERED.

      Dated this 27th day of February, 2012 at Topeka, Kansas.


                                   s/Richard D. Rogers
                                   United States District Judge




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